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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


KAREN KAY BUCKLEY,                                           CIVIL ACTION NO. 1:19-cv-00794

                 Plaintiff,                                          JURY TRIAL DEMANDED
-vs.-

UNIVERSAL SEWING SUPPLY, INC.

                 Defendant,


           DEFENDANT’S MOTION TO EXTEND DISCOVERY DEADLINES

        AND NOW, comes Defendant, Universal Sewing Supply, Inc. by and through their

attorneys, Hardin Thompson, P.C., Kenneth J. Hardin II, and with the concurrence of Plaintiff, by

and through their attorneys, McNees Wallace & Nurick LLC. and Carol Steinour Young, and file

the within Defendant’s Motion to Extend Discovery Deadlines and in support thereof sets forth

the following:

    1. There was a Scheduling Order entered into this matter on January 4, 2021.

    2. The Scheduling Order set fact discovery to close in this matter on June 30, 2021.

    3. The undersigned Defense Counsel will require additional time to conduct additional

        discovery and depositions in this matter.

    4. There are still depositions that need to be taken in this matter.

    5. We will not be able to obtain and schedule the same within the current discovery time

        frame.

    6. Additionally, due to Covid-19, it has been more difficult to secure records, schedule, and

        produce discovery.

    7. This is a first request for extension of the discovery deadline.
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   8. All parties agree with and concur with the requested extension and no party to this

       litigation will be prejudiced by extending the discovery deadlines.

   9. Given all the factors laid out above, all parties requests that this Court extend discovery

       deadlines by forty-five (45) days, or until August 13, 2021 as follows:

           a. Fact discovery deadline by a period of 45 days until August 13, 2021.

   10. All remaining deadlines will remain in place.

WHEREFORE, Defendant, with concurrence of Plaintiff, requests that this Honorable Court grant

this Motion to Extend Discovery Deadlines by forty-five (45) days or until August 13, 2021.

                                             Respectfully submitted,

                                                    HARDIN THOMPSON, P.C.

                                                    /s/ Kenneth J. Hardin
                                                    Kenneth J. Hardin II PA ID 58303
                                                    The Frick Building
                                                    437 Grant Street, Suite 620
                                                    Pittsburgh, PA 15219
                                                    (412) 315-7195 / (412) 315-7386 (fax)
                                                    kenhardin@hardinlawpc.net


                                                    Counsel for Defendant
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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

KAREN KAY BUCKLEY,                                      CIVIL ACTION NO. 1:19-cv-00794

              Plaintiff,                                        JURY TRIAL DEMANDED
-vs.-

UNIVERSAL SEWING SUPPLY, INC.

              Defendant,

                           CERTIFICATE OF CONCURRENCE

       I, Kenneth J. Hardin, II, Esquire, hereby certify that the undersigned counsel sought
concurrence for Plaintiff via email on June 18, 2021 in regard to Defendant’s Motion to Extend
Discovery Deadlines. Plaintiff’s Counsel, Carol Steinour Young responded to our request for
concurrence at the time of filing and indicated her agreement to the same.


                                                  HARDIN THOMPSON, P.C.


                                                  /s/ Kenneth J. Hardin
                                                  Kenneth J. Hardin
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the Defendant’s Motion to

Extend Discovery Deadlines was served upon all parties of record, via Email by ECF Notification

and regular mail, this 22nd day of June 2021, addressed as follows:

                                 Carol Steinour Young
                                    Lois B. Duquette
                                     Emily H. Doan
                           MCNEES WALLACE & NURICK LLC
                                     100 Pine Street
                                     P.O. Box 1166
                                 Harrisburg, PA 17108
                               csteinour@mcneeslaw.com
                                  Counsel for Plaintiff



                                                     HARDIN THOMPSON, P.C.


                                                     /s/ Kenneth J. Hardin
                                                     Kenneth J. Hardin
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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


KAREN KAY BUCKLEY,                                     CIVIL ACTION NO. 1:19-cv-00794

               Plaintiff,                                      JURY TRIAL DEMANDED
-vs.-

UNIVERSAL SEWING SUPPLY, INC.

               Defendant,
                                            ORDER

        AND NOW, this ______________ day of ___________________, 2021, upon due

consideration of the Defendant’s Motion to Extend Discovery Deadlines to include a discovery

deadline 45 days to August 13, 2021, it is hereby ORDERED, ADJUDGED, and DECREED that

the Motion is GRANTED and the parties have until August 13, 2021 to complete discovery, AND

all other deadlines will remain in place.



                                                 ______________________________J.
